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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF AMERICA,             CR. NO. 17-00101 JEK

         Plaintiff,                      DEFENDANT’S REPLY TO THE
                                         GOVERNMENT’S OPPOSITION
         v.                              TO SWORN MOTION TO
                                         DISMISS SUPERSEDING
                                         INDICTMENT; EXHIBIT “A;”
   ANTHONY T. WILLIAMS,                  CERTIFICATE OF SERVICE.

         Defendant.


     DEFENDANT’S REPLY TO THE GOVERNMENT’S OPPOSITION TO
       SWORN MOTION TO DISMISS SUPERSEDING INDICTMENT

   Comes now, the Defendant Anthony T. Williams, by and through his

   standby counsel, Lars Robert Isaacson, Esq., and hereby provides his Reply

   to the Government’s Opposition to Sworn Motion to Dismiss Superseding

   Indictment and supporting Exhibit as detailed in the attached Declaration of

   Counsel and Exhibits “A.”
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      Dated: September 14, 2018



                                        /s/ Lars Isaacson
                                  LARS ROBERT ISAACSON
                                  Standby Attorney for
                                  Defendant Anthony T. Williams
